Case 6:22-cv-02044-DCJ-CBW Document 1 Filed 07/11/22 Page 1 of 5 PageID #: 1
Case 6:22-cv-02044-DCJ-CBW Document 1 Filed 07/11/22 Page 2 of 5 PageID #: 2
Case 6:22-cv-02044-DCJ-CBW Document 1 Filed 07/11/22 Page 3 of 5 PageID #: 3
Case 6:22-cv-02044-DCJ-CBW Document 1 Filed 07/11/22 Page 4 of 5 PageID #: 4
Case 6:22-cv-02044-DCJ-CBW Document 1 Filed 07/11/22 Page 5 of 5 PageID #: 5
